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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

In the Matter of the Petition of GRACE * .
OCEAN PRIVATE LIMITED, ef al.,for —, eee
Exoneration from or Limitation of
Liability 4 IN ADMIRALTY
*
* * * * * * * * * * * *
ORDER

At the Status and Scheduling Conference scheduled for Tuesday, October 29, 2024, at
10:00 a.m., the Court plans to address and expects the parties to be prepared to discuss certain key
topics: (1) the scope of each phase of litigation, and the Court’s view that Phase 1 should have a
narrow focus; (2) the timing and scope of discovery; (3) the appropriate time for Petitioners to file,
and for the Court to address, any responsive pleadings and motions to dismiss; (4) the
appropriateness of additional pre-discovery motions practice; and (5) general case scheduling and
other miscellaneous items.

Prior to addressing these topics, the Court will allow one counsel for each Petitioner and
lead counsel for Claimants (as identified in Case Management Order No. 2), each to make an
opening statement—no more than five minutes per lawyer.

SO ORDERED.

DATED this2 day of October, 2024.

BY THE COURT:

LDurn 2b

James K. Bredar
United States District Judge

